       Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 1 of 45                     FILED
                                                                                  2018 Oct-29 AM 10:24
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


               IN THE UNITED STATE DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        WESTERN DIVISION

GREAT WESTERN                           )
DEVELOPMENT CORP., et al.,              )
                                        )
      Plaintiffs,                       )
                                        )     7:15-CV-02160-LSC
v.                                      )
                                        )
JONATHAN BENISON, et al.,               )
                                        )
      Defendants.                       )

                       MEMORANDUM OF OPINION

I.    INTRODUCTION

      Plaintiffs Great Western Development Corporation, Inc. (“Great

Western”), and Ventec LLC (“Ventec”) bring this action against Jonathan

Benison (“Sheriff Benison”), individually and in his official capacity as Sheriff of

Greene County, Alabama; William Nick Underwood (“Underwood”), individually

and in his official capacity as a Greene County Commissioner; Young People’s

Alliance Association for Youth Development Council Inc. (designated in the

complaint as Young People’s Alliance Organization and hereinafter referred to as

“YPAO”); and River’s Edge Bingo, LLC (“River’s Edge”) (collectively

“Defendants”), alleging violations of the Equal Protection Clause of the United

                                     Page 1 of 45
       Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 2 of 45




States Constitution, conspiracy to deprive Plaintiffs of the equal protection of the

laws, violations of the Racketeer Influenced and Corrupt Organizations Act

(“RICO”), conspiracy to violate RICO, tortious interference with contractual and

business relations, civil conspiracy, and fraud. Before this Court are:

      • Underwood’s Motion for Summary Judgment (Doc. 84);
      • Great Western’s Motion for Summary Judgment on Sheriff
        Benison’s Counterclaim. (Doc. 88);
      • Great Western’s Motion for Summary Judgment on Underwood’s
        Counterclaim. (Doc. 89);
      • Sheriff Benison’s Motion for Summary Judgment (Doc. 90);
      • YPAO’s Motion for Summary Judgment (Doc. 91);
      • YPAO’s Motion for Leave to File Amended Answer (Doc. 116);
      • Underwood’s Motions to Withdraw Purported Factual Admissions
        (Docs. 121 & 128); and
      • Great Western’s Motion for an Evidentiary Hearing (Doc. 129).

      The motions have been briefed and are ripe for review. For the reasons

stated below, Great Western’s Motions for Summary Judgment on Underwood

and Sheriff Benison’s Counterclaims (docs. 88 & 89) are due to be granted, while

Underwood, Sheriff Benison, and YPAO’s Motions for Summary Judgment (docs.

85, 90, & 91) are due to be granted in part and denied in part. Additionally, YPAO’s

Motion for Leave to File Amended Answer (doc. 116) is due to be denied.

Moreover, the Court finds that Underwood’s Motions to Withdraw Purported

Factual Admissions (docs. 121 & 128) and Great Western’s Motion for an

Evidentiary Hearing (doc. 129) are due to be terminated as moot.


                                    Page 2 of 45
        Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 3 of 45




II.       BACKGROUND1

             A. Statement of Facts

       In 2003, voters approved a constitutional amendment allowing nonprofit

organizations to operate bingo games in Greene County, Alabama. ALA. CONST.

AMEND. 743. The amendment charges the sheriff of the county with the duty of

promulgating and enforcing rules and regulations for the operation of bingo games

in Greene County. (Id. at § 3.) In 2011, Sheriff Benison entered office and enacted

new rules and regulations for the operation of bingo by non-profit organizations

within Greene County. Under these rules, an organization seeking a charity bingo

license must file an application with the sheriff and pay a licensing fee for each

license year in order to receive a license. Any license denial or non-renewal may be

appealed to the Greene County Commission to make a final determination on the

matter.

       Pursuant to these rules and regulations, James Carter (“Carter”), the

Chairman of the Board of Directors of Great Western, applied for a bingo license in

1
        The facts set out in this opinion are gleaned from the parties’ submissions of facts
claimed to be undisputed, their respective responses to those submissions, and the Court’s own
examination of the evidentiary record. These are the “facts” for summary judgment purposes
only. They may not be the actual facts. See Cox v. Adm'r U.S. Steel & Carnegie Pension Fund, 17
F.3d 1386, 1400 (11th Cir. 1994). The Court is not required to identify unreferenced evidence
supporting a party’s position. As such, review is limited to exhibits and specific portions of the
exhibits specifically cited by the parties. See Chavez v. Sec’y, Fla. Dept. of Corr., 647 F.3d 1057,
1061 (11th Cir. 2011) (“[D]istrict court judges are not required to ferret out delectable facts
buried in a massive record . . . .”) (internal quotations omitted).

                                           Page 3 of 45
       Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 4 of 45




March 2011 on Great Western’s behalf. Subsequently, in July 2011, Don Baylor

(“Baylor”), Ed Frazier (“Frazier”), and Steven Wallace (“Wallace”) formed

Ventec, and Ventec entered into a Basic Operating Agreement with Great Western.

      There is some dispute regarding the content of discussions between

Plaintiffs and Sheriff Benison preceding the issuance of the license to Great

Western. However, it is undisputed that Great Western received a charity bingo

license in October 2011 for a one-year period. After Great Western received its

license, Baylor met with Underwood, who served as a Greene County

Commissioner from 2011 to 2014, to discuss his plans for Great Western’s charity

bingo operation. Underwood is one of the founders of YPAO. YPAO is a Greene

County charity that at times has operated bingo games in Greene County.

Throughout the time in question, Underwood served as both general counsel for

and an officer of the organization. During his meetings with Underwood, Baylor,

according to his deposition testimony, shared confidential information about Great

Western’s bingo project without knowledge that Underwood was involved with

YPAO. Underwood, in his role as a Greene County Commissioner, was involved




                                    Page 4 of 45
        Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 5 of 45




not only with the appeal of bingo license denials but also with setting the sheriff’s

budget in Greene County. 2

       After the issuance of the license, Great Western made plans to start a bingo

operation on the Hay Field property using the Plantation House as a “temporary

facility.” Although Plaintiffs attempted to secure adequate funding to build a larger

bingo facility, they were unsuccessful. As a result, Plaintiffs began to renovate the

Plantation House with the goal of opening in April 2012.

       In March of 2012, Sheriff Benison had his attorney, Flint Liddon

(“Liddon”) send a letter to Plaintiffs stating that he would not approve of a bingo

operation at the Plantation House. Liddon then sent additional correspondence to

Plaintiffs indicating that Sheriff Benison took issue both with the location of the site

and the use of a temporary facility. In these letters, Liddon, at the direction of

Sheriff Benison, specifically informed Plaintiffs that “…the piece of property close

to the Knoxville exit on Highway 59 is not considered by the Sheriff to be an

appropriate place to house bingo operations, and [Sheriff Benison] will not allow

any such operations at that location.” (Doc. 86 Ex. V.)




2
         Although the parties dispute the extent of control Underwood had over Sheriff Benison’s
budget, Ala. Code § 11-8-3 provides that the County Commission will prepare and adopt budgets,
including the sheriffs. Therefore, the record does indicate that Underwood did in fact play some
role in setting the budget.

                                         Page 5 of 45
       Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 6 of 45




      Great Western asserts that it responded to this correspondence by

“reminding the sheriff [that] in their initial discussions it was agreed that the

Plantation House would serve as a temporary site” for operations. (Doc. 86 Ex.

W.) Plaintiffs continued to work on the Plantation House, while they also sought

investors to further support their renovations. However, at least one attempt by

Plaintiffs to recruit investors was disrupted by Sheriff Benison’s Deputies, who

arrived at the Plantation House and interrupted the pitch based on a call they

allegedly received about an ongoing break in at the site. Additionally, negotiations

with Ken Hobbs (“Hobbs”), who was another potential investor, did not come into

fruition. Instead, Hobbs later formed a partnership with YPAO and Underwood.

      In September of 2012, Sheriff Benison again informed Plaintiffs that they

would not be allowed to operate their bingo facility at the Plantation House.

However, Sheriff Benison allowed Plaintiffs to move to the Blue Block construction

site elsewhere on the Hay Field property. On October 11, 2012, Great Western

applied for a renewal of its charity bingo license, which was set to expire on

October 22, 2012.

       During the pendency of Plaintiffs’ license renewal, YPAO and Underwood

entered into an agreement with Hobbs to expand YPAO’s bingo operation. At the

time YPAO was operating out of the Comfort Inn, though it had been looking to



                                     Page 6 of 45
       Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 7 of 45




expand or renovate that location. It was shortly after this agreement was entered

into that Plaintiffs’ application for a license renewal was denied. Plaintiffs appealed

Sheriff Benison’s decision to the Greene County Commission on January 8, 2013.

Evidence in the record suggests that Underwood, who was at the time the

Chairman of the Greene County Commission and a member of a charity bingo

partnership with Hobbs and YPAO, presided over the appeal.

      While its appeal was pending, Great Western continued construction on the

Blue Block site. Jim Woods, a member of Ventec, claims that it was at this time that

Sheriff Benison approached him at the site and asked him what he was building.

Woods stated that he was building a “Wal-Mart.” However, Woods testified that

Sheriff Benison knew a bingo hall and not a Wal-Mart was being built. Sheriff

Benison in response, according to Woods, stated that a license for a Wal-Mart

would be $50,000. (Doc. 87 Ex. 42.) Woods refused to pay Sheriff Benison the

requested funds. The next day some of Sheriff Benison’s deputies came by the site

and attempted to shut down construction. Plaintiffs ceased construction on the

Hay Field property shortly after this incident.

      Although Plaintiffs’ appeal was still pending, YPAO ceased bingo operations

at the Comfort Inn and made plans to move elsewhere. It is disputed as to when

YPAO entered discussions with Sheriff Benison about moving to the land vacated



                                     Page 7 of 45
       Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 8 of 45




by Great Western, where River’s Edge would ultimately be located. However, the

evidence indicates that Plaintiffs withdrew their appeal in March 2013 and that

construction for YPAO’s River’s Edge bingo facility began shortly after that in

April 2013. Although Plaintiffs attempted to reinstate their appeal in May 2013,

only one Commissioner moved to reinstate the appeal, and thus the appeal was

dismissed.

      Sheriff Benison officially transferred YPAO’s bingo license to the River’s

Edge location in August 2013 when the facility was nearly complete. River’s Edge

was officially opened to the public in December of 2013. River’s Edge operated

until March 2014 when it was closed because it was raided by state law

enforcement officials. River’s Edge reopened in August 2014 after receiving a loan

of $375,000 from Underwood. However, River’s Edge closed again in May 2015,

when the operators of the bingo hall took all the equipment. At this point,

Underwood again loaned money to River’s Edge to enable it to reopen and was

then hired as the general manager of River’s Edge.

      During the operation of River’s Edge, payments were made by YPAO to Jake

Enterprise Group (“Jake Enterprise”), amounting to almost $450,000. (Doc. 87

Ex. 47, Ex. 48.) Jake Enterprise is a Wyoming corporation created by Underwood.

Plaintiffs have contended that Underwood, Sheriff Benison, Liddon, and Hobbs all



                                    Page 8 of 45
        Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 9 of 45




hold an interest in and received payment from Jake Enterprise during YPAO’s

association with River’s Edge. 3 Moreover, Underwood’s legal assistant and

River’s Edge CFO, Takilia Mayfield, testified in her deposition that she was

instructed, during YPAO and Underwood’s partnership with River’s Edge, to

backdate Underwood’s billings to YPAO in order to make his billed hours match

certain amounts of money. Mayfield claims that Underwood, during this time,

would bill YPAO for 60 hours or more of work, even though he was providing legal

services to other clients. Mayfield also indicated that, during this time, payments

were made to a number of fictitious entities by YPAO, for services that were not

rendered. River’s Edge and YPAO’s partnership ceased in 2016.

             B. Procedural History

       Great Western initially filed suit in state court in October 2014. That action

was removed to federal court and dismissed on March 9, 2015, when Great

Western’s former counsel failed to respond to a motion to dismiss. (Doc. 101 Ex.

63.) Great Western’s former counsel then advised his clients to file a second

lawsuit pro se on behalf of the corporation. That suit was filed on May 18, 2015, and




3
        Underwood failed to make a timely response to Plaintiffs’ requests for admissions. As a
result, Underwood has admitted by default that these parties own an interest in Jake Enterprise.
However, pursuant to the parties’ agreement, as stated on the record to this Court on October 11,
2018, these admissions will not be deemed admitted for the purposes of trial.

                                         Page 9 of 45
       Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 10 of 45




dismissed on August 13, 2015. (Doc. 101 Ex. 66 at ¶ 12.) The action currently

before this Court was filed on November 25, 2015. (Doc. 1.)

III.   STANDARD OF REVIEW

       Summary judgment is appropriate “if the movant shows that there is no

genuine dispute as to any material fact 4 and the movant is entitled to judgment as a

matter of law.” FED. R. CIV. P. 56(a). A dispute is genuine if “the record taken as a

whole could lead a rational trier of fact to find for the nonmoving party.” Id. A

genuine dispute as to a material fact exists “if the nonmoving party has produced

evidence such that a reasonable factfinder could return a verdict in its favor.”

Greenberg v. BellSouth Telecomms., Inc., 498 F.3d 1258, 1263 (11th Cir. 2007)

(quoting Waddell v. Valley Forge Dental Assocs., 276 F.3d 1275, 1279 (11th Cir.

2001)). The trial judge should not weigh the evidence, but determine whether there

are any genuine issues of fact that should be resolved at trial. Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 249 (1986). In considering a motion for summary

judgment, trial courts must give deference to the nonmoving party by “view[ing]

the materials presented and all factual inferences in the light most favorable to the

nonmoving party.” Animal Legal Def. Fund v. U.S. Dep’t of Agric., 789 F.3d 1206,

1213–14 (11th Cir. 2015) (citing Adickes v. S.H. Kress & Co., 398 U.S. 144, 157

4
       A material fact is one that “might affect the outcome of the case.” Urquilla-Diaz v.
Kaplan Univ., 780 F.3d 1039, 1049 (11th Cir. 2015).

                                      Page 10 of 45
      Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 11 of 45




(1970)). However, “unsubstantiated assertions alone are not enough to withstand a

motion for summary judgment.” Rollins v. TechSouth, Inc., 833 F.2d 1525, 1529

(11th Cir. 1987). Conclusory allegations and “mere scintilla of evidence in support

of the nonmoving party will not suffice to overcome a motion for summary

judgment.” Melton v. Abston, 841 F.3d 1207, 1220 (11th Cir. 2016) (per curiam)

(quoting Young v. City of Palm Bay, Fla., 358 F.3d 859, 860 (11th Cir. 2004)). In

making a motion for summary judgment, “the moving party has the burden of

either negating an essential element of the nonmoving party’s case or showing that

there is no evidence to prove a fact necessary to the nonmoving party’s case.”

McGee v. Sentinel Offender Servs., LLC, 719 F.3d 1236, 1242 (11th Cir. 2013).

Although the trial courts must use caution when granting motions for summary

judgment, “[s]ummary judgment procedure is properly regarded not as a

disfavored procedural shortcut, but rather as an integral part of the Federal Rules

as a whole.” Celotex Corp. v. Catrett, 477 U.S. 317, 327 (1986).

IV.    DISCUSSION

        A. COUNT I & II— RICO

             1.    Sheriff Benison in his Official Capacity

      Sheriff Benison asserts that he cannot be sued in his official capacity for

RICO violations and cites to Lancaster Community Hospital v. Antelope Valley



                                    Page 11 of 45
       Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 12 of 45




Hospital District, 940 F.2d 397, 440 (9th Cir. 1991). The Court agrees as bringing a

RICO claim against Sheriff Benison in his official capacity would essentially

constitute a suit against the state of Alabama. See Kentucky v. Graham, 473 U.S.

159, 167– 68 (1985). However, to the extent that Plaintiffs are seeking recovery

from Sheriff Benison in his individual capacity, this determination does not prevent

Sheriff Benison from being liable for any RICO violations that were undertaken in

his individual capacity.

             2.     Underwood as Agent for YPAO

      YPAO argues that it is not liable for any RICO acts because it had no

knowledge of Underwood’s actions. However, both principal and agent are

“deemed to have notice of whatever either has notice of and ought to, in good faith

and the exercise of ordinary care and diligence, communicate to the other.” Ala.

Code § 8-2-8. Therefore, a corporation is charged with constructive knowledge,

regardless of its actual knowledge, of all material facts of which its officer acquires

knowledge while acting in the course of his employment within the scope of his

authority. See Am. Cent. Life Ins. Co. v. First Nat’l Bank, 90 So. 294, 294 (Ala.

1921) A corporation is vicariously liable under RICO for the wrongful acts of its

employees “when the acts are: ((1) related to and committed within the course of

employment; (2) committed in furtherance [of the business] of the corporation;



                                     Page 12 of 45
       Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 13 of 45




and (3) authorized or subsequently acquiesced in by the corporation.” Quick v.

Peoples Bank of Cullman Cty., 993 F.2d 793, 797 (11th Cir. 1993) (quoting Liquid Air

Corp. v. Rogers, 834 F.2d 1297, 1306 (7th Cir.1987)).

       Plaintiffs’ claims against YPAO hinge on whether Underwood was acting as

an “agent” of YPAO. The Court finds that Plaintiffs have presented sufficient

evidence from which a reasonable jury could conclude that Underwood was

effectively “acting at all times as YPAO’s agent with respect to bingo” and thus

had knowledge of his activities. (Doc. 105 at 8.) There is no dispute as to whether

Underwood maintained a position as legal counsel of YPAO. (Doc. 85 Ex. S).

Moreover, the deposition testimony of Lucy Spann, Chairman of YPAO, indicates

that YPAO gave Underwood blanket authority over bingo. (Doc. 87 Ex. 44 at 68-

70). Although YPAO claims to have no knowledge regarding Underwood’s alleged

undue influencing over Sheriff Benison, actual knowledge is not required in order

to impute liability to the corporation. 5 Accordingly, RICO liability for the actions of

Underwood may be imputed to YPAO.

              3.      RICO


5
        The Court does however note that a reasonable jury could find that YPAO had knowledge
of the actions based on the deposition testimony of Spann, which indicates that she as Chairman
of YPAO may have been aware of Underwood’s actions, including the formation of Jake
Enterprise. Spann, testifying in response to the question “did you know that Jake Enterprise was
formed by a group out in Wyoming or Nevada?”, stated that she “heard something about some
investors in Nevada…” (Doc. 87 Ex. 44 at 76-78).

                                        Page 13 of 45
      Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 14 of 45




      Under § 1962(c), it is “unlawful for any person employed by or associated

with any enterprise engaged in, or the activities of which affect, interstate or

foreign commerce, to conduct or participate, directly or indirectly, in the conduct

of such enterprise's affairs through a pattern of racketeering activity....” 18 U.S.C.

§ 1962(c). To establish a violation of §1962(c), there must be proof “that a

defendant (1) operated or managed (2) an enterprise (3) through a pattern (4) of

racketeering activity that included at least two racketeering acts.” Ray v. Spirit

Airlines, Inc., 836 F.3d 1340, 1348 (11th Cir. 2016) (quoting Ray v. Spirit Airlines,

Inc., 767 F.3d 1220, 1224 (11th Cir. 2014)). Additionally, a plaintiff must show: “(1)

the requisite injury to business or property, and (2) that such injury was by reason

of the substantive RICO violation.” Williams v. Mohawk Indus., Inc., 465 F.3d 1277,

1282–83 (11th Cir. 2006) abrogated on other grounds as recognized in Simpson v.

Sanderson Farms, Inc., 744 F.3d 702, 714–15 (11th Cir. 2014) (internal quotations

omitted). When applying the RICO statute, its terms are to be liberally construed

to effectuate its remedial purposes. See Boyle v. United States, 556 U.S. 938, 944

(2009).

      Racketeering activity, commonly referred to as a predicate act, includes “any

act or threat involving… bribery… which is chargeable under State law and




                                     Page 14 of 45
      Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 15 of 45




punishable by imprisonment for more than a year.” 18 U.S.C. § 1961(1). Under

Alabama law, a person commits bribery if:

      (1) he offers, confers, or agrees to confer anything of value upon a
      public servant with the intent that the public servant's vote, opinion,
      judgment, exercise of discretion or other action in his official capacity
      will thereby be corruptly influenced; or
       (2) [w]hile a public servant, he solicits, accepts or agrees to accept any
      pecuniary benefit upon an agreement or understanding that his vote,
      opinion, judgment, exercise of discretion or other action as a public
      servant will thereby be corruptly influenced.

      Ala. Code § 13A-10-61 (a). The requisite “intent” for bribery, to

inappropriately influence a public servant, may be established through

circumstantial evidence. See Jackson v State, 791 So.2d 979, 1017 (Ala. Crim. App.

2000).

      “To successfully allege a pattern of racketeering activity, [Plaintiffs] must

charge that: (1) the defendants committed two or more predicate acts within a ten-

year time span; (2) the predicate acts were related to one another; and (3) the

predicate acts demonstrated criminal conduct of a continuing nature.” Jackson v.

BellSouth Telecomms., 372 F.3d 1250, 1264 (11th Cir. 2004). Predicate acts are

considered related if the acts “have the same or similar purposes, results,

participants, victims, or methods of commission, or otherwise are interrelated by

distinguishing characteristics and are not isolated events.” H.J. Inc. v. Northwestern

Bell Telephone Co., 492 U.S. 229, 240 (1989).


                                    Page 15 of 45
      Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 16 of 45




      The predicate acts must “amount to, or… otherwise constitute a threat of,

continuing racketeering activity.” H.J. Inc., 492 U.S. at 237. This continuity

requirement “is both a closed- and open-ended concept, referring either to a closed

period of repeated conduct, or to past conduct that by its nature projects into the

future with a threat of repetition.” Id. at 242. “Whether the predicates proved

establish a threat of continued racketeering activity depends on the specific facts of

each case.” Id. “Any two predicate acts can be sufficient for the jury to find

continuity.” United States v. Browne, 505 F. 3d 1229, 1260 (11th Cir. 2011).

      Close-ended continuity can be demonstrated “by proving a series of related

predicates extending over a substantial period of time.” H.J. Inc., 492 U.S. at 242.

Courts have not found closed-ended continuity when “RICO allegations concern

only a single scheme with a discrete goal.” Jackson, 372 F.3d at 1267. However, the

Supreme Court has rejected any requirement under RICO for multiple schemes.

See H.J. Inc., 492 U.S. at 237, 242 (holding that closed-ended continuity “might

encompass multiple predicates within a single scheme that were related….”)

Open-ended continuity relies on allegations of “the threat of continuity.” Id.

Plaintiffs can demonstrate open-ended continuity through proof that “the

racketeering acts themselves include a specific threat of repetition extending




                                    Page 16 of 45
      Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 17 of 45




indefinitely into the future,” or “the predicate acts or offenses are part of an

ongoing entity's regular way of doing business.” H.J. Inc., 492 U.S. at 242.

      Under 18 U.S.C. § 1961(4), an “enterprise” consists of “any individual,

partnership, corporation, association, or other legal entity, and any union or group

of individuals associated in fact.” 18 U.S.C. § 1961(4). The term “enterprise,” as

used in RICO, includes two categories of associations. See United States v. Turkette,

452 U.S. 576, 581 (1981). The first category encompasses “organizations such as

corporations and partnerships, and other ‘legal entities.’” Id. at 581– 82. The

second category covers “any union or group of individuals associated in fact

although not a legal entity.” Id.

       An association-in-fact enterprise is “a group of persons associated together

for a common purpose of engaging in a course of conduct.” Id. at 583. It must have

the following structural features: “[1] a purpose; [2] relationships among those

associated with the enterprise, and [3] longevity sufficient to permit these

associates to pursue the enterprise’s purpose.” Boyle, 556 U.S. at 946. While RICO

requires an association-in-fact enterprise to have some organizational structure, it

“need not have a hierarchal structure or chain of command.” Id. at 948 (internal

quotations omitted); Turkette, 453 U.S. at 583 (“evidence of an ongoing

organization [may be] formal or informal….”). Moreover, the enterprise’s



                                     Page 17 of 45
       Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 18 of 45




members do not have to participate throughout the life of the enterprise for the

enterprise to be considered a “continuing unit.” United States v.Weinstein, 762

F.2d 1522, 1537, n. 13 (11th Cir. 1985); See United States v. Hewes, 729 F.2d 1302

(11th Cir. 1984).

      RICO only provides relief to those who have been injured “by reason of a

violation of section 1962.” 18 U.S.C. § 1964(c). “The ‘by reason of’ requirement

implicates two concepts: (1) a sufficiently direct injury so that a plaintiff has

standing to sue and (2) proximate cause.” Mohawk Indus., 465 F.3d at 1287.

“When evaluating a RICO claim for proximate causation, the central question [the

Court] must ask is whether the alleged violation led directly to the plaintiff’s

injuries.” Anza v. Ideal Steel Court, 547 U.S. at 461 (2006). Therefore, the

proximate causation standard requires “some direct relation” between the conduct

and the injury to state a claim. Mohawk Indus., 465 F.3d at 1287. Accordingly, the

connection “between the racketeering activity and the injury can be neither

remote, purely contingent, nor indirect.” Ray, 836 F.3d at 1349. The fact that an

injury is reasonably foreseeable is not sufficient to establish proximate cause in a

RICO action. See Hemi Grp., LLC v. City of New York, 559 U.S. 1, 12 (2010)

(plurality opinion); Mohawk Indus., 465 F.3d at 1291.




                                     Page 18 of 45
      Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 19 of 45




      In evaluating whether proximate causation exists, “courts should consider

the ‘motivating principles’ behind the directness component of the proximate-

cause standard in RICO cases.” Mohawk Indus., 465 F.3d at 1288 (quoting Anza,

547 U.S. at 458) (alterations adopted). Motivating principles of the proximate

cause standard include (1) “the difficulty that can arise when a court attempts to

ascertain the damages caused by some remote action”; (2) “the speculative nature

of the proceedings that would follow if [the plaintiffs] were permitted to maintain

[their] claim”; (3) whether the alleged harm “could have resulted from factors

other than [the defendants’] alleged acts of fraud”; (4) “any appreciable risk of

duplicative recoveries”; and (5) whether “the immediate victims of [the] alleged

RICO violation can be expected to vindicate the laws by pursuing their own

claims.” Anza, 547 U.S. at 458– 60.

      “Section 1962(d) of the RICO statutes makes it illegal for anyone to conspire

to violate one of the substantive provisions of RICO.” ADA v. Cigna Corp., 605

F.3d 1283, 1293 (11th Cir.2010). “A plaintiff can establish a RICO conspiracy claim

in one of two ways: (1) by showing that the defendant agreed to the overall

objective of the conspiracy; or (2) by showing that the defendant agreed to commit

two predicate acts.” Id. (quoting Republic of Panama v. BCCI Holdings

(Luxembourg) S.A., 119 F.3d 935, 950 (11th Cir. 1997)). “A plaintiff need not offer



                                    Page 19 of 45
        Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 20 of 45




direct evidence of a RICO agreement; the existence of conspiracy ‘may be inferred

from the conduct of the participants.’” Id. (quoting Republic of Panama, 119 F.3d at

950).

        Here, Plaintiffs have presented sufficient circumstantial evidence from

which a jury could find that Sheriff Benison, YPAO, and Underwood committed

RICO violations by engaging in at least two predicate acts of bribery. For example,

Plaintiffs’ evidence indicates, if believed, that Sheriff Benison solicited and

accepted money with an understanding that his discretion in terms of bingo

licensing would be corruptly influenced. In support of this, Plaintiffs point to Jim

Woods’s deposition testimony that Sheriff Benison requested a $50,000 payment

from him in order for Great Western to operate a bingo hall at the Blue Block

location. Woods refused to pay the amount, and the next day Sheriff Benison’s

Deputies visited the site in an attempt to shut down construction. Based on this

evidence a reasonable jury could find that Sheriff Benison was indeed soliciting a

bribe from the Plaintiffs in order for them to go forward with construction and

receive a renewal of Great Western’s charity bingo license.

        Additionally, there is evidence from which a reasonable jury could infer that

Underwood was receiving unearned legal fees and other improper benefits from

YPAO to influence both him and Sheriff Benison. Plaintiffs point to evidence that



                                     Page 20 of 45
      Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 21 of 45




during Great Western’s attempt to renew its charity bingo license Underwood was

serving as the Chairman of the Greene County Commission and was also involved

with YPAO, which was running a bingo hall. In his position on the County

Commission, Underwood had influence not only over the sheriff’s budget but also

on appeals from Sheriff Benison’s denials of bingo licenses. Moreover, deposition

testimony from Great Western’s attorney and Mayfield indicates that Underwood

did not recuse himself from Great Western’s appeal.

       Plaintiffs have also pointed to evidence in the record indicating that while

Sheriff Benison was deciding whether or not to renew Plaintiffs’ license,

Underwood entered into a partnership with Hobbs and YPAO. Sheriff Benison

received Great Western’s application for a renewed charity bingo license on

October 12, 2012. (Doc. 87 Ex. 26.) Hobbs, YPAO, and Underwood entered into a

bingo partnership on November 26, 2012. (Doc. 87 Ex. 11 at 93-94.) This is the

same partnership that is alleged to have later paid out funds to Sheriff Benison

through an entity Underwood created called Jake Enterprise. On December 12, just

sixteen days after Hobbs, Underwood, and YPAO formed their partnership, Sheriff

Benison denied Plaintiffs’ license renewal application. (Doc. 87 Ex. 27.) The

evidence also indicates that after this denial YPAO was permitted to move onto the

Hay Field property, once used by Great Western, even though Sheriff Benison had



                                    Page 21 of 45
      Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 22 of 45




declared that property unfit for bingo in his March 2012 letter. Underwood in his

own deposition testimony indicated that “there could be some suspicion [about the

alleged timing of YPAO’s partnership and Great Western’s license denial], given

the lapse in time.” (Doc. 87 Ex. 11 at 118.)

      Mayfield’s deposition testimony also indicates that after YPAO began

operating at River’s Edge Underwood began billing YPAO for more than sixty

hours of work per week while also billing for legal work not affiliated with YPAO.

(Doc. 87 Ex. 38 at 25.) Mayfield further testified that during this time she was

instructed by Underwood to make sure that billings equaled a certain amount of

money instead of billing at an hourly rate. (Id. at 24.) Although this may not be

dispositive of payments being made for an unlawful purpose (i.e. bribery), this

manner of billing is circumstantial evidence pointing to such conduct.

      Additionally, there is evidence that during this time Underwood was

receiving “compensatory tickets” from YPAO “every day except Sunday.” (Id. at

43-44.) These compensatory tickets would allow Underwood to play bingo at

River’s Edge for free and then cash out these tickets for money. Moreover,

Mayfield’s deposition indicates that other “fictitious companies” were allegedly

receiving funds from YPAO, even though the companies rendered no services for

YPAO. (Id. at 88, 115-117.) Mayfield stated in her deposition that she was often



                                    Page 22 of 45
       Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 23 of 45




instructed to draft “fictitious notes . . . to cover money [Underwood] was

receiving” and “was having to go back and back date [those fictitious notes].” (Id.

at 88, 110-111.)

       Mayfield also testified in her deposition that during YPAO and River’s

Edge’s partnership Jake Enterprise—an entity that Underwood, Sheriff Benison,

and Liddon allegedly own an interest in 6— was also receiving 12% of the gross net

of profits every week from River’s Edge along with proceeds from ATM funds at

River ’s Edge. (Id. at 54, 84.) During her deposition, Mayfield produced text

messages from Underwood arguably indicating that Sheriff Benison was receiving a

share of the profits from Jake Enterprise. In one text, Underwood requested

Mayfield to text him “billings for [Jake Enterprise]” in order to “assign the

partnership share out to the sheriff and others.” (Id. at 65.) Although the term

“partnership” can be used to mean different things, it is unlikely that an attorney

practicing for as long as Underwood would use the term to mean anything other

than an actual partnership in the entity. Invoices from Jake Enterprise to YPAO

indicate that YPAO paid approximately $450,000 to Jake Enterprise between

September 2015 and March 2016. (Doc. 87 Ex. 47, Ex. 48.)



6
       Underwood has admitted that Sheriff Benison and others own an interest in Jake
Enterprise by default. However, pursuant to the parties’ agreement, as stated on the record to
this Court on October 11, 2018, this fact will not be deemed admitted for the purposes of trial.

                                         Page 23 of 45
       Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 24 of 45




       Furthermore, Mayfield testified in her deposition that she was once directed

by Underwood “to take $5,000 cash out [of the vault] for the Sheriff.” (Doc. 87

Ex. 38 at 103.) This pattern of behavior is corroborated by Hobbs who testified in

his deposition that Underwood asked him to give money to the sheriff in “two or

three conversations.” (Doc. 87 Ex. 10 at 238-240.) Hobbs also testified that both

Mayfield and Julia Carter, the operations manager of YPAO, reported to him that

deputies had tried to collect money to be given to the sheriff. (Id. at 241.)

Underwood also admits in his own deposition that he once gave Hobbs $14,400 in

cash to give to Sheriff Benison. (Doc. 87 Ex. 11 at 205-12.) In addition, there is

evidence in the record that Sheriff Benison’s attorney, Liddon, received thousands

of dollars from Underwood’s personal accounts based upon a twenty-five percent

interest Underwood assigned to him in the Kool Kat entity as a referral fee for a

motorcycle accident case. (Doc. 87 Ex. 41.) 7

       While there is no direct evidence of Sheriff Benison’s intention to accept or

solicit these funds, there is evidence that a jury could believe shows that Sheriff

Benison both received and requested the funds. It is up to the jury to determine if


7
       In his deposition testimony, Liddon indicated that he did not know where the Kool Kat
was or what kind of business it ran. Moreover, Liddon testified that while he was still receiving
disbursements from Underwood and serving as counsel for Sheriff Benison he became aware that
unlicensed bingo machines had been installed in the Kool Kat, but did not inform Sheriff Benison
about that possible unlicensed bingo activity. (Doc. 87 Ex. 41.)



                                         Page 24 of 45
       Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 25 of 45




those funds were solicited and paid illegally or otherwise to unduly influence

Sheriff Benison and Underwood. If so found, this activity would constitute

racketeering activity through multiple predicate acts of bribery.

       Therefore, there is sufficient evidence from which a reasonable jury could

conclude that two or more related predicate acts occurred within a ten-year period.

Moreover, a reasonable jury could find that this evidence indicates that the acts, if

they did in fact occur, had the same or similar purpose of not only influencing the

approval and denial of bingo licenses in Greene County but also enriching

Underwood, Sheriff Benison, and YPAO. Furthermore, a reasonable jury could

also conclude from this circumstantial evidence that the Defendants’ actions are

part of a continuing RICO scheme, especially since Sheriff Benison still controls

the bingo licensing process in Greene County. 8

       Additionally, the evidence suggests that an association-in-fact enterprise

existed among Sheriff Benison, Liddon, Sheriff Benison’s Deputies, and

Underwood, acting both on his own behalf and as an agent on behalf of YPAO, with

a common purpose of personal gain through bribery in the charity bingo licensing

8
        The Court notes that there may also be sufficient evidence for a reasonable jury to
conclude that closed-ended continuity existed. Contrary to Sheriff Benison’s assertion, there is
evidence on the record from which a reasonable jury could conclude that there was more than a
single scheme between the parties. Moreover, the three to four year period in which bribes were
allegedly exchanged in return for licensing and profits would likely be a sufficient period of time
for a reasonable jury to find closed-ended continuity. See Jackson, 372 F.3d at 1266.


                                          Page 25 of 45
       Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 26 of 45




process.9 Plaintiffs point to evidence that, if true, suggests that Underwood,

YPAO, Sheriff Benison, and others benefitted not only from influencing the charity

bingo licensing process but also from the subsequent bingo operations by YPAO at

River’s Edge. 10 Plaintiffs have also presented evidence indicating that there were

personal relationships among the Defendants as YPAO, Underwood, and Sheriff

Benison, the ultimate administrator of bingo in Greene County, interacted as both

administrators of and applicants for bingo licenses. Although neither party proffers

a lifespan for the enterprise, Plaintiffs’ evidence suggests that an association-in-fact

enterprise was created for the common purpose of enriching its members sometime

in 2012 and that it continued until YPAO and River’s Edge’s partnership ceased in

2016. A reasonable jury could find that this evidence shows that an association-in-

fact enterprise with sufficient longevity to achieve a common purpose had formed,

even though some members appear to have joined later than others.

       Defendants argue that Ventec lacks sufficient standing to bring suit because

they were “merely a third-party that could have potentially benefitted from Great
9
         The Eleventh Circuit has held “that plaintiffs may not plead the existence of a RICO
enterprise between a corporate defendant and its agents or employees acting within the scope of
their roles for the corporation because a corporation necessarily acts through its agents and
employees.” Ray, 836 F. 3d 1340. However, the rule is not applicable here as Plaintiffs have
alleged an enterprise that includes not only Underwood and YPAO but also Sheriff Benison and
others.
10
        “[T]he proof used to establish [an enterprise and a pattern of racketeering activity] may
in particular cases coalesce.” United States v Cagnina, 697 F.2d 915, 921 (11th Cir. 1983).



                                         Page 26 of 45
      Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 27 of 45




Western’s bingo license.” However, evidence in the record indicates that there

was a vending contract in place between Great Western and Ventec at the time

Great Western’s license renewal was denied.(Doc. 86 Ex. J at 3). Thus, contrary to

Defendants’ assertion, Ventec sustained a loss and has standing.

      Additionally, Defendants contend that proximate causation cannot be

established because Plaintiffs’ RICO claim “necessarily relies upon proof of undue

influence on Sheriff Benison,” which all Defendants deny. However, as discussed

above, Plaintiffs have presented sufficient circumstantial evidence, if true, from

which a reasonable jury could conclude that Sheriff Benison solicited bribes and

was in fact unduly influenced by Underwood acting on his own behalf and on behalf

of others. Moreover, a reasonable jury could conclude that Underwood, as

Chairman of the Greene County Commission, used his position as Chairman to

influence Sheriff Benison, proximately causing Plaintiffs’ losses.

       Although some of Plaintiffs’ harms were arguably caused by only one

predicate act, Sheriff Benison’s alleged request for a bribe, RICO does not require

“that a plaintiff be injured by more than one predicate act.” Jones v. Childers, 18 F.

3d 899, 914 (11th Cir. 1994) (quoting Banks v. Wolk, 918 F.2d 418, 424-25 (3d

Cir.1990)). Furthermore, Plaintiffs are not alleging a series of remote actions,

which resulted in lost profits or harms to the community in general. Instead,



                                    Page 27 of 45
       Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 28 of 45




Plaintiffs allege that they are the immediate victims of the alleged acts and that

some of these acts directly caused a loss of profits and a denial of Great Western’s

bingo license.

       Concerns about whether the “alleged harm could have resulted from factors

other than the [defendants’] alleged acts,” do support assertions that proximate

causation will not ultimately be proven to the satisfaction of the jury. In particular,

Defendants have presented evidence that Plaintiffs’ business was possibly

underfunded, poorly managed, or illegal. However, it is undisputed that Great

Western was operating until its license was denied and Sheriff Benison’s deputies

shut down the Blue Block site.

      Moreover, Defendants are not entitled to summary judgment on Plaintiffs’

RICO conspiracy claim because a reasonably jury could find that Underwood,

Sheriff Benison, and YPAO had an overall agreement to deny Plaintiffs’ license

renewal and profit from YPAO’s River’s Edge bingo hall, located on the property

once used by Plaintiffs. The Plaintiffs have presented evidence indicating that they

showed both Sheriff Benison and Underwood their plans for development and that

it was not until YPAO and Underwood reached an agreement with Hobbs to open

River’s Edge that Sheriff Benison took action to deny Plaintiffs’ renewal

application. Additionally, this same evidence along with the evidence of Sheriff



                                     Page 28 of 45
      Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 29 of 45




Benison’s financial gain could be seen by a reasonable jury to show an agreement to

commit at least two predicate acts of bribery where Sheriff Benison, YPAO, and

Underwood agreed to exchange money for influence to deny Plaintiffs’ license and

profit from YPAO’s use of the Plaintiffs’ former location. Therefore, Defendants’

motions for summary judgment on Plaintiffs’ RICO claims are due to be denied.

        B. Statute of Limitations

             1.    Section 1983 Claims

      “All constitutional claims brought under § 1983 are tort actions, subject to

the statute of limitations governing personal injury actions in the state where the §

1983 action has been brought.” Crowe v. Donald, 528 F.3d 1290, 1292 (11th Cir.

2008) (quotation omitted). In Alabama, where Plaintiffs brought this action, that

limitations period is two years. See Jones v. Preuit & Mauldin, 876 F.2d 1480, 1483

(11th Cir. 1989). When a § 1983 claim accrues is a question of federal, not state,

law. See Mullinax v. McElhenney, 817 F.2d 711, 716 (11th Cir.1987). “Section 1983

actions do not accrue until the plaintiff knows or has reason to know that he has

been injured.” Id. Therefore, the statute of limitations runs once “the facts which

would support a cause of action are apparent or should be apparent to a person with

a reasonably prudent regard for his rights.” Id.




                                    Page 29 of 45
       Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 30 of 45




      Plaintiffs’ § 1983 claims are time barred. Plaintiffs claim that they could not

have been aware of their claims until River’s Edge opened in December 2013.

However, the construction for River’s Edge on the property once used by Plaintiffs

was already underway in April 2013. A reasonably prudent person, upon witnessing

the construction of a bingo hall on the same location that was denied to him, would

have been aware of facts which would support a cause of action for an equal

protection violation. Moreover, Hobbs’s deposition testimony indicates that Baylor

knew of River’s Edge in August of 2013. Therefore, the evidence in the record

indicates that the statute of limitations for Plaintiffs’ § 1983 claim started to run in

August 2013, at the latest. Because Plaintiffs did not file suit until November of

2015, Plaintiffs’ § 1983 claim is barred by the two-year statute of limitations.

      To succeed on a § 1983 conspiracy claim, the plaintiff must establish an

underlying constitutional violation. See Grider v City of Auburn, Ala., 618 F.3d

1240, 1260 (11th Cir. 2010). However, as discussed above, Plaintiffs’ underlying

constitutional claims are barred by the statute of limitations. Therefore,

Defendants are also entitled to summary judgment in their favor on Plaintiffs’ §

1983 conspiracy claim.

             2.     State Law Claims




                                     Page 30 of 45
       Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 31 of 45




      Actions for tortious interference are subject to a two-year statute of

limitation. Ala. Code § 6-2-38(l). The statute of limitations accrues and begins to

run when the plaintiff’s first legal injury occurs. Ex parte Floyd, 796 So.2d 303, 308

(Ala. 2001). “When a claim accrues, for statute of limitations purposes, is a

question of law if the facts are undisputed and the evidence warrants but one

conclusion. However, when a disputed issue of fact is raised, the determination of

the date of accrual of a cause of action for statute of limitations purposes is a

question of fact to be submitted to and decided by a jury.” Jim Walter Homes, Inc.

v. Kendrick, 810 So.2d 645 (Ala. 2001)(citing Kindred v. Burlington Northern R.R.,

742 So.2d 155, 157(Ala. 1999) ).

      Although the parties dispute the exact time when Plaintiffs first suffered

their injury for the purposes of Plaintiffs’ tortious interference claim, the Court

finds that there is no evidence in the record from which a reasonable jury could

conclude that Plaintiffs first suffered legal injury for the purposes of their tortious

interference claim any later than the denial of their re-instated appeal before the

Greene County Commission in May 2013. Arguably, Plaintiffs’ injury accrued even

earlier in December 2012 when Sheriff Benison returned the license fee to Plaintiffs

and informed them that he would not renew Great Western’s bingo license.

Because the statute of limitations begins to run on the date of the legal injury, not



                                     Page 31 of 45
       Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 32 of 45




the date where the Plaintiff had knowledge of all parties involved or causing the

harm, Plaintiffs would have had to bring their claim for tortious interference, at the

latest, by May 2015. However, Plaintiffs filed this suit in November 2015 and

therefore Plaintiffs’ claim for tortious interference is barred by the statute of

limitations.

       Similarly, Plaintiffs’ fraud and civil conspiracy claims are also time barred.

“In Alabama, any fraud claim must be brought within two years of the accrual of

the claim.” Auto–Owners Ins. Co. v. Abston, 822 So.2d 1187, 1194 (Ala.2001) (citing

Ala.Code § 6–2–38(l)). However, “the claim must not be considered as having

accrued until the discovery by the aggrieved party of the fact constituting the

fraud.” Ala.Code § 6–2–3. More specifically, “the limitations period begins to run

when the plaintiff [becomes] privy to facts which would ‘provoke inquiry in the

mind of a [person] of reasonable prudence, and which, if followed up, would have

led to the discovery of the fraud.’” Abston, 822 So.2d at 1195 (second alteration in

original) (quoting Willcutt v. Union Oil Co., 432 So.2d 1217, 1219 (Ala.1983)). This

statute of limitations also applies to civil conspiracy claims. Boyce v. Cassese, 941

So.2d 932, 944 (Ala. 2006). Although “the question of when a party discovered or

should have discovered the fraud is generally one for the jury,” Gilmore v. M&B

Realty Co., L.L.C., 895 So. 2d 200, 210 (Ala. 2004) (quoting Liberty Nat’l Life Ins.



                                     Page 32 of 45
      Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 33 of 45




Co. v. Parker, 703 So. 2d 307, 308 (Ala. 1997)), the question of when a plaintiff

discovered or should have discovered fraud may be decided as a matter of law in

cases where “the plaintiff actually knew of facts that would have put a reasonable

person on notice of the fraud.” Ex parte Alabama Farmers Co-op, Inc., 911 So. 2d

696, 703 (Ala. 2004) (quoting Barlow v. Liberty Nat’l Life Ins. Co., 708 So. 2d 168,

173, 174 (Ala. Civ. App. 1997)).

      Plaintiffs’ discovery of the facts constituting fraud should have occurred

prior to River’s Edge’s opening in December 2013. A reasonable person would

have been put on notice of the fraudulent behavior when the construction for a new

bingo facility began and was well underway on the same site that Plaintiffs were

once told was not suitable for bingo. Further, Plaintiffs have presented no evidence

that YPAO and Underwood actively concealed their involvement with River’s

Edge. While there is evidence that Underwood did not disclose his conflict of

interest on Great Western’s appeal or to Baylor, Plaintiffs could have easily

discovered such facts if they had simply inquired into who was building a bingo hall

on the land they were told was unfit. Therefore, Plaintiffs’ fraud and civil

conspiracy claims are barred by the statute of limitations.

      Plaintiffs seek to have this Court equitably toll the statute of limitations for

their state law claims because they claim Underwood and YPAO concealed their



                                    Page 33 of 45
      Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 34 of 45




identities and they have filed prior lawsuits. “[A] litigant seeking equitable tolling

bears the burden of establishing two elements: (1) that he has been pursuing his

rights diligently, and (2) that some extraordinary circumstance stood in his way” as

to the filing of his action. Weaver v. Firestone, 155 So. 3d 952, 957 (Ala. 2013)

(quoting Pace v. DiGuglielmo, 544 U.S. 408, 418 (2005)). In other words,

“equitable tolling is available in extraordinary circumstances that are beyond the

petitioner’s control and that are unavoidable even with the exercise of diligence.”

Ex parte Ward, 46 So. 3d 888, 897 (Ala. 2007). When determining whether

equitable tolling applies, courts should consider “whether principles of equity

would make the rigid application of a limitation period unfair and whether [the

plaintiff] has exercised reasonable diligence in investigating and bringing [the]

claims.” Weaver, 155 So. 3d at 958 (quoting Ex parte Ward, 46 So. 3d at 897)

(internal quotation marks omitted).

      Plaintiffs first filed their suit in October 2014. That suit was dismissed in

March 2015 when Palintiffs’ counsel failed to respond to a motion to dismiss. The

Plaintiffs’ second suit was filed in May 2015 and dismissed in August 2015. The

current action was filed in November 2015. The parties do not debate that the

Plaintiffs have been diligently pursuing their rights.




                                     Page 34 of 45
      Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 35 of 45




      However, there does not appear to be any extraordinary circumstances that

prevented the Plaintiffs from filing the appropriate action before the statute of

limitations expired. General neglect or negligence of an attorney does not ordinarily

rise to the level of “extraordinary circumstances.” See Ward v. State, 228 So.3d

490 (Ala. Crim. App. 2017). In support of their argument for the “extraordinary

circumstances” element of equitable tolling, Plaintiffs assert that the identity of the

injurers was concealed, as was the case in Weaver v. Firestone. See 155 So.3d at 952.

In Weaver, the Alabama Supreme Court allowed equitable tolling of the statute of

limitations where, despite the exercise of reasonable diligence, a victim of an

assault was unable to discover his injurer’s identity within the statutory period due

to the defendants’ concealment of their identities. Id

      However, the circumstances of Weaver are distinguishable from this case

because here the record indicates that Plaintiffs could have discovered the identity

of their injurer within the statutory period with reasonable diligence. Plaintiffs

certainly would have known that Sheriff Benison was in some way involved because

any party building a bingo hall would have had to get his approval to put a bingo hall

on that property. Moreover, Plaintiffs’ own evidence indicates that they were

aware of Underwood’s involvement in their appeal. Underwood and YPAO were

openly constructing and subsequently operating in the public a bingo hall.



                                    Page 35 of 45
      Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 36 of 45




Therefore, Plaintiffs could have easily discovered the identity of their injurers and

are unable to carry the burden of proving the existence of any “extraordinary

circumstance” that prevented them from ascertaining the identity of their injurers

and filing the appropriate action within the two-year statute of limitations.

        C. YPAO’s Motion for Leave to Amend Answer

      YAPO seeks leave to amend its answer to assert an affirmative defense of

illegality. (Doc. 116.) Because the Court finds that the amendment would cause

undue delay and prejudice, YPAO’s Motion for Leave to Amend Answer is denied.

      Under Rule 8(c)(1) of the Federal Rules of Civil Procedure, a party must

affirmatively state any affirmative defense in the answer or through a pre-answer

motion, including illegality. FED. R. CIV. P. 8(c)(1). Under Rule 15(a) of the Federal

Rules of Civil Procedure, a party may amend their answer once as a matter of

course within twenty-one days after service of a pleading. Otherwise, the party may

amend their pleading “only with the opposing party’s written consent or the

court’s leave.” FED. R. CIV. P. 15(a). Rule 15(a) further instructs that “[t]he court

should freely give leave when justice so requires.” Id. “[U]nless there is a

substantial reason to deny leave to amend, the discretion of the district court is not

broad enough to permit denial.” Thomas v. Town of Davie, 847 F.2d 771, 773 (11th

Cir. 1988) (quoting Dussouy v. Gulf Coast inv. Corp., 660 F.2d 594, 598 (5th Cir.



                                    Page 36 of 45
       Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 37 of 45




1981)). Reasons for denying leave to amend include “undue delay, bad faith or

dilatory motive on the part of the movant, repeated failure to cure deficiencies by

amendments previously allowed, undue prejudice to the opposing party…, [and]

futility of the amendment.” Foman v. Davis, 371 U.S. 178, 182 (1962). When a

motion to amend is “filed after the scheduling order's deadline, [Defendant] must

first demonstrate good cause [to amend] under Rule 16(b) before [the Court] will

consider whether amendment is proper under Rule 15(a).” Sosa v. Airprint Sys.,

Inc., 133 F.3d 1417, 1419 (11th Cir. 1998); See Millennium Partners, L.P. v. Colmar

Storage, LLC, 494 F.3d 1293, 1299 (11th Cir. 2007).

       YPAO seeks to amend its answer to add an illegality defense well beyond the

Court’s initial deadline to add claims or defenses, which expired on June 13, 2016.

(Doc. 24.)11 Therefore, YPAO must demonstrate good cause to allow for the

amendment. However, YPAO’s argument for good cause is unavailing. YPAO’s

explanation to this Court of why it waited almost three years since the case began

and after the close of discovery to amend its answer is simply that it did not think it

had to raise illegality as an affirmative defense.

       Conveniently, YPAO has filed this motion before the Court has ruled on

summary judgment but well after the discovery period has closed and dispositive

11
       Although the parties have requested and received a number of extensions, this Court’s
review of these orders does not indicate that this deadline was ever extended.

                                        Page 37 of 45
       Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 38 of 45




motions have been filed and fully briefed. YPAO is correct to assert that certain

bingo games are illegal in Alabama as a matter of law. However, this assertion

presupposes the establishment of one important fact: that Plaintiffs’ bingo was of

the kind deemed illegal in Alabama. Neither party has stipulated that these

machines are illegal under Alabama law. Moreover, the record does not currently

contain sufficient evidence to apply the Cornerstone test for the legality of bingo

operations in Alabama. See Barber v. Cornerstone Community Outreach, Inc., 42

So.3d 65 (Ala. 2009). Contrary to YPAO’s assertion, the Cornerstone test is a fact

intensive inquiry that requires the Court to analyze six different elements in order

to determine whether the gaming machines constituted prohibited machines. Id.

Therefore, any inquiry into the legality of the operations would likely require the

re-opening of discovery. However, allowing the parties to re-open discovery to

examine the illegality of the proposed operations would cause both delay of trial

and deprivation of resources. YPAO had knowledge of the questionable legal status

of the bingo operations but failed to assert it and rely on it until after discovery was

closed.

      YPAO nevertheless argues that the good cause standard is met because

Alabama Supreme Court precedent suggests that this sort of amendment may be

allowed. YPAO in support of its motion cites Limestone Creek Developers, LLC v.



                                     Page 38 of 45
       Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 39 of 45




Trapp, 107 So.3d 189, 193 (Ala. 2012), for the proposition that amendment may be

allowed to assert illegality. However, Alabama Supreme Court precedent is not

binding in federal district court when applying the Federal Rules of Civil

Procedure, unless listed under Rule 81(a). FED. R. CIV. P. 81(a); see Troxler v.

Owens-Illinois, Inc., 717 F.2d 530 (11th Cir. 1983). This Court is bound by the

Federal Rules of Civil Procedure, and YPAO’s request for leave to amend answer

is due to be denied based on the lack of diligence by YPAO in amending its answer

and the prejudice that would result from re-opening discovery at this stage in the

litigation.

       Plaintiffs, in response to YPAO’s argument that amendment should be

allowed, seek to have the Court apply judicial estoppel to YPAO’s illegality

defense. “Judicial estoppel is an equitable doctrine invoked at a court’s

discretion.” Burnes v. Pemco Aeroplex, Inc., 291 F.3d 1282, 1285 (11th Cir. 2002)

(citing New Hampshire v. Maine, 532 U.S. 742, 750 (2001)) overruled in part on other

grounds by Slater v. United States Steel Corp., 871 F.3d 1174 (2017) (en banc).

Application of the judicial estoppel doctrine prevents a party from “asserting a

claim in a legal proceeding that is inconsistent with a claim taken by that party in a

previous proceeding.” Burnes, 291 F.3d at 1285 (quoting 18 James Wm. Moore et

al., Moore’s Federal Practice § 134.30, p. 134–62 (3d ed. 2000)). The purpose of the



                                    Page 39 of 45
      Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 40 of 45




doctrine is “to protect the integrity of the judicial process by prohibiting parties

from deliberately changing positions according to the exigencies of the moment.”

New Hampshire, 532 U.S. at 749–50. Because judicial estoppel protects the process,

not a specific party, the one asserting the doctrine need not show that it

detrimentally relied on the other party’s previous assertions or even that it was

involved in the previous proceeding. Burnes, 291 F.3d at 1286.

      The Eleventh Circuit has established two factors which predominate in

applying judicial estoppel to a particular case. Burnes, 291 F.3d at 1285 (noting that

the “two factors applied in the Eleventh Circuit are consistent with the Supreme

Court’s instructions” in New Hampshire); Barger v. City of Cartersville, 348 F.3d

1289, 1293 (11th Cir. 2003). First, a party’s allegedly inconsistent position must

have been “made under oath in a prior proceeding.” Burnes, 291 F. 3d at 1285

(quoting Salomon Smith Barney, Inc. v. Harvey, 260 F.3d 1302, 1308 (11th Cir.

2001)). Then, the “inconsistencies must be shown to have been calculated to make

a mockery of the judicial system.” Id. “[T]hese two enumerated factors are not

inflexible or exhaustive; rather, courts must always give due consideration to all of

the circumstances of a particular case when considering the applicability of this

doctrine.” Id. at 1286.




                                     Page 40 of 45
       Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 41 of 45




       The record indicates that the asserted illegality defense in this suit is

inconsistent with YPAO’s position taken under oath in at least one different

proceeding. 12 Thus, the only remaining question is whether the inconsistent

positions of YPAO were “calculated to make a mockery of the judicial system.”

Burnes, 291 F.3d at 1285 (11th Cir. 2002). The Eleventh Circuit has stated that

judicial estoppel may only apply in situations involving intentional contradictions,

“not simple error or inadvertence.” Id. at 1286.

       In this case, YPAO’s failure to assert an illegality defense is not the result of

simple error or inadvertence. YPAO initially did not assert any illegality defense in

this matter. YPAO then filed suit against Hobbs and other investors on the contract

underlying the River’s Edge bingo project on March 14, 2018. (Doc. 112 Ex. A.) On

May 2, 2018, YPAO applied for and received an entry of default against Hobbs and

others. (Id. at Ex. B-Ex. E.) Two days later, on May 4, 2018, in its initial brief for

summary judgment, YPAO raised the defense of illegality for the first time. (Doc.

91.) Even then, YPAO did not move to amend its answer and add the defense of

illegality until it filed its reply brief on June 5, 2018 (Doc. 116.)

       Essentially, YPAO now seeks to escape liability on the grounds that the

profits Great Western lost were illegal gambling profits. However, the fact is not

12
     YPAO sued Hobb’s and other investors on the contract between the parties underlying
YPAO’s operation of River’s Edge in Alabama State Court on March 14, 2018. (Doc. 112 Ex. A).

                                       Page 41 of 45
       Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 42 of 45




lost on this Court that YPAO, until recently, engaged in the same activity it now

contends is illegal. Although YPAO argues that there is no intentional manipulation

because it had different counsel in each matter, the Court finds this argument

unavailing. Courts often apply judicial estoppel in the context of claims brought

after bankruptcy where the party has often had different lawyers. It would make a

mockery of the judicial system if YAPO was now allowed to amend its answer and

add an illegality defense to potentially escape liability for losses related to bingo

shortly after benefitting from a suit enforcing a contract and liabilities emerging

from the very same bingo operations they now claim are illegal. Therefore, the

Court finds that YPAO is judicially estopped from asserting a defense of illegality.

        D. Underwood and Sheriff Benison’s Defamation Counterclaims

      To make out a defamation case under Alabama law, “the plaintiff must show

that the defendant was at least negligent, in publishing a false and defamatory

statement to another concerning the plaintiff, which is either actionable without

having to prove special harm (actionable per se) or actionable upon allegations and

proof of special harm (actionable per quod).” Nelson v. Lapeyrouse Grain Corp., 534

So.2d 1085, 1091 (Ala.1998) (internal citations omitted). “Spoken words that

impute to the person of whom they are spoken the commission of an indictable

criminal offense involving infamy or moral turpitude constitute slander actionable



                                     Page 42 of 45
       Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 43 of 45




per se.” Id. (citing Ceravolo v. Brown, 364 So.2d 1155 (Ala.1978)). However in

defamation claims, communications made in the course of judicial proceedings are

absolutely privileged if they are relevant or material to the litigation. O'Barr v. Feist,

296 So.2d 152, 156 (Ala.1974). The standard for relevance is not stringent “and all

doubts are resolved in favor of its relevancy or pertinence.” Adams v. Alabama Lime

& Stone Corporation, 142 So. 424, 425 (Ala. 1932). Statements that are relevant or

material to the litigation cannot be used as grounds for a defamation claim. See

O’Barr, 296 So.2d at 157.

      Both Underwood and Sheriff Benison base their defamation counterclaims

on the allegations of bribery, racketeering, and other illegal activity contained in

Great Western and Ventec’s amended complaint. However, these statements in

the amended complaint are both relevant and material as to whether Sheriff

Benison or Underwood violated Alabama’s bribery statutes and whether one or

both of them were engaged in a pattern of “racketeering activity” in violation of 18

U.S.C. § 1962 (c) and §1962 (d). Both Underwood and Sheriff Benison were

unable in their depositions to provide any additional evidence of defamatory

statements made by Great Western or Ventec beyond those made in the amended

complaint. Therefore, the statements Sheriff Benison and Underwood claim are




                                     Page 43 of 45
      Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 44 of 45




defamatory are in fact absolutely privileged and cannot serve as a basis for a

defamation claim.

      Although Underwood argues that Great Western and Ventec’s allegations

should not be absolutely privileged because their lawsuit is baseless, Alabama law

does not support this conclusion. In support of his argument, Underwood cites

Walker v. Majors, 496 So.2d 726 (Ala. 1986) for the premise that there is no

absolute privilege when a lawsuit was not “contemplated in good faith and

submitted under serious consideration.” Id. at 729. But the language Underwood

cites from Walker concerns “communications preliminary to the proposed judicial

proceeding” not statements made during litigation or at the commencement of the

litigation. Id. Moreover, the letters sought to be privileged in Walker were sent

before the plaintiff filed suit. Id. Here, there are no statements made prior to the

filing of suit. In fact, the only statements alleged to be defamatory were made in the

suit. Therefore, Great Western is entitled to summary judgment in its favor on both

Underwood and Sheriff Benison’s counterclaims.

VI. Conclusion

      For the reasons stated above, Underwood, YPAO, and Sheriff Benison’s

Motions for Summary Judgment (docs. 84, 90, & 91) are due to be granted as to

Counts III-VII of the amended complaint and denied as to Count I-II of the



                                    Page 44 of 45
       Case 7:15-cv-02160-LSC Document 132 Filed 10/29/18 Page 45 of 45




amended complaint. Great Western’s Motions for Summary Judgment (docs. 88 &

89) on Underwood and Sheriff Benison’s Counterclaims are due to be granted.

Additionally, YPAO’s Motion to Amend Answer (doc. 116) is due to be denied.

Underwood’s Motions to Withdraw Purported Factual Admissions (Docs. 121 &

128) and Great Western’s Motion for an Evidentiary Hearing (Doc. 129) are due to

be terminated as moot. 13

     An order consistent with this opinion will be entered contemporaneously
herewith.

       DONE and ORDERED on October 29, 2018.


                                                   _____________________________
                                                           L. Scott Coogler
                                                      United States District Judge
                                                                                         195126




13
       These motions were rendered moot by the parties’ agreement as stated on the record to
this Court on October 11, 2018.

                                       Page 45 of 45
